         Case 8:23-bk-10571-SC Doc 362 Filed 08/04/23 Entered 08/04/23 21:16:06                                                                     Desc
                             Imaged Certificate of Notice Page 1 of 99
                                                              United States Bankruptcy Court
                                                               Central District of California
In re:                                                                                                                 Case No. 23-10571-SC
The Litigation Practice Group P.C.                                                                                     Chapter 11
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0973-8                                                  User: admin                                                                 Page 1 of 5
Date Rcvd: Aug 02, 2023                                               Form ID: pdf042                                                            Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

#                Addresses marked '#' were identified by the USPS National Change of Address system as requiring an update. While the notice was still deliverable,
                 the notice recipient was advised to update its address with the court immediately.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Aug 04, 2023:
Recip ID                 Recipient Name and Address
db                    #+ The Litigation Practice Group P.C., 17542 17th St, Suite 100, Tustin, CA 92780-1981

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Aug 04, 2023                                            Signature:           /s/Gustava Winters




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on August 2, 2023 at the address(es) listed
below:
Name                               Email Address
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Andrew Still
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District/off: 0973-8                                       User: admin                                                             Page 2 of 5
Date Rcvd: Aug 02, 2023                                    Form ID: pdf042                                                        Total Noticed: 1
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Date Rcvd: Aug 02, 2023                                     Form ID: pdf042                                                    Total Noticed: 1
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         Case 8:23-bk-10571-SC Doc 362 Filed 08/04/23 Entered 08/04/23 21:16:06                                                     Desc
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Date Rcvd: Aug 02, 2023                                       Form ID: pdf042                                                      Total Noticed: 1
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   7 Special Counsel to Richard A. Marshack

   8

   9
                              UNITED STATES BANKRUPTCY COURT
  10
                     CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISION
  11

  12    In re:                                      Case No. 8:23-bk-10571-SC

  13    THE LITIGATION PRACTICE GROUP P.C., Chapter 11

  14                        Debtor.                 ORDER (A) APPROVING SALE OF
                                                    ASSETS FREE AND CLEAR OF ALL
  15                                                LIENS, CLAIMS, ENCUMBRANCES
                                                    AND INTERESTS PURSUANT TO 11
  16                                                U.S.C. § 363(b), (B) APPROVING
                                                    ASSUMPTION AND ASSIGNMENT OF
  17                                                CERTAIN EXECUTORY CONTRACTS
                                                    AND UNEXPIRED LEASES AND OTHER
  18                                                AGREEMENTS, AND (C) GRANTING
                                                    RELATED RELIEF
  19
                                                    Date:   July 21, 2023
  20                                                Time:   10:00 a.m.
                                                    Ctrm:   5C
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   1              On July 21, 2023, at 10:00 a.m., in Courtroom 5C of the United States Bankruptcy Court,

   2 Central District of California, Santa Ana Division ("Bankruptcy Court"), located at 411 West Fourth

   3 Street, the Honorable Scott C. Clarkson, United States Bankruptcy Judge, conducted a hearing

   4 ("Hearing") regarding above-referenced debtor, The Litigation Practice Group, P.C. ("LPG" or the

   5 "Debtor") relating to the within bankruptcy estate ("Estate"); on the Motion of Trustee Richard A.

   6 Marshack ("Trustee")For Entry of an Order: (A) Approving Sale of Assets Free and Clear of All

   7 Liens, Claims, Encumbrances and Interests Pursuant to 11 U.S.C. § 363(b); and (B) Approving the

   8 Assumption and Assignment of Certain Executory Contracts and Unexpired Leases and Other

   9 Agreements [Dkt. No. 191] (the "Motion")1 filed by Richard A. Marshack on July 7, 2023 in the
  10 above-captioned Chapter 11 bankruptcy case ("Case"), along with the Declaration of Richard A.

  11 Marshack in Support by Richard A. Marshack, Chapter 11 Trustee [Dkt. No. 191-1] ; Declaration

  12 of Mr. Carss [Dkt. No. 191-2]; Declaration of Mr. Pruyn [Dkt. No. 191-3]; Declaration of Mr.

  13 Rebhun [Dkt. No. 191-4]; and Declaration of Mr. Schneider [Dkt. No. 191-5], along with all

  14 supplemental documents requested by the Bankruptcy Court to be filed on July 17, 2023, including

  15 but not limited to Trustee's Pocket Brief [Dkt. No. 260]; the Supplemental Declaration of Mr.

  16 Rebhun [Dkt. No. 260-1]; the Supplemental Declaration of Mr. Pruyn [Dkt. No. 260-2]; and

  17 Supplemental Declaration of Mr. Carss [Dkt. No. 260-3]. Christopher Celentino, Christopher Ghio,

  18 Yosina Lissebeck and Peter W. Bowie of Dinsmore & Shohl LLP appeared on behalf of Trustee.

  19 Keith C. Owens and Nicholas A. Koffroth at Fox Rothschild LLP appeared on behalf of the Official

  20 Committee of Unsecured Creditors ("Committee"). The Office of the United States Trustee appeared

  21 by and through Kenneth Misken, Leslie Skorheim and Queenie Ng. The consumer privacy

  22 ombudsman, Lucy Thomson, appeared. The proposed monitor, Nancy Rapoport, appeared. Other

  23 interested parties and bidders appeared as reflected on the record. Any other appearances were as

  24 stated on the record.

  25              Due notice of the sale hearing having been given and the Bankruptcy Court having heard

  26 argument of counsel and any evidence presented in support of the relief requested in the Motion;
  27

  28
       1
           Terms not otherwise defined herein shall have the meanings ascribed to them in the Motion.


                                                                  1
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   1 any objections to the Sale having been overruled, and it appearing that the relief requested in the

   2 Motion is in the best interests of the Debtor, the Estate, the Estate's creditors and other parties in

   3 interest; and after due deliberation thereon, the Bankruptcy Court having entered its Order

   4 Approving Motion of Trustee Richard A. Marshack For Entry of an Order: (A) Approving Sale of

   5 Assets Free and Clear of All Liens, Claims, Encumbrances and Interests Pursuant to 11 U.S.C. §

   6 363(b); and (B) Approving the Assumption and Assignment of Certain Executory Contracts and

   7 Unexpired Leases and Other Agreements [Dkt. No. 320] entered on July 22, 2023, the Bankruptcy

   8 Court hereby makes the following findings of fact and conclusions of law:

   9                                  Findings of Fact and Conclusions of Law:2

  10           A.       The Bankruptcy Court has jurisdiction over the Motion and this matter pursuant to

  11 28 U.S.C. §§ 157 and 1334, and this matter is a core proceeding pursuant to 28 U.S.C. §§

  12 157(b)(2)(A), (M), (N), and (O). Venue of this Case and the Motion in this District is proper under

  13 28 U.S.C. §§ 1408 and 1409. This Order constitutes a final order within the meaning of 28 U.S.C.

  14 § 158(a).

  15           B.       The statutory predicates for the relief sought in the Motion are Sections 102, 105,

  16 363 and 365 of Title 11 of the United States Code ("Bankruptcy Code") and Rules 2002, 4001, 6004,

  17 6006, 9006, 9007, and 9014 of the Federal Rules of Bankruptcy Procedure ("Bankruptcy Rules").

  18 Trustee has established the necessary facts to support the entry of an order for the sale of the Property

  19 as provided in the Asset Purchase Agreement (as defined below).

  20           C.       The Notice of Sale of Estate Property ("Sale Notice"), the Motion, including overbid

  21 procedures set forth therein, the Notice of Entry of Order: (I)(A) Approving Sale of Assets Free and

  22 Clear of All Liens, Claims, Encumbrances and Interests Pursuant to 11 U.S.C. § 363(b) and the

  23 Asset Purchase Agreement; and (B) Approving the Assumption and Assignment of Certain

  24 Executory Contracts and Unexpired Leases and Other Agreements, (II)(A) Approving the form and

  25 manner of Notice to Consumers, subject to the review of the Monitor, (B) Approving the form and

  26 manner of Legal Service Agreement, subject to the review of the Monitor, (C) Approving
  27
       2
  28    Pursuant to Bankruptcy Rule 7052, findings of fact shall be construed as conclusions of law, and conclusions of law
       shall be construed as findings of fact, when appropriate.


                                                                2
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   1 Procedures for Determining Cure Amounts, and (D) Approving Procedures for Notice to Consumer;

   2 were served and filed.

   3          D.      Due and adequate notice of the Motion, the Sale Notice, and Sale Order (collectively

   4 the "Sale") has been given in accordance with Sections 102(1), 105(a), 363 and 365 of the

   5 Bankruptcy Code and Bankruptcy Rules 2002, 4001, 6004, 6006, 9006, 9007, 9008 and 9014, and

   6 any other applicable provision, including, but not limited to, and no other or further notice of the

   7 Sale is or shall be required, but forth the required notice to consumers set forth herein. A reasonable

   8 opportunity to object and be heard regarding Sale and the transactions contemplated thereunder and

   9 under the APA has been afforded and reasonably calculated to apprise: (i) all holders of liens, claims,
  10 encumbrances and interests (including, without limitation, all of the holders of liens, claims,

  11 encumbrances and interests set forth in Paragraph P below) asserted in or against the assets; (ii) the

  12 Office of the United States Trustee; (iii) all applicable federal, state and local regulatory or taxing

  13 authorities, recording offices or any governmental entity which have a reasonably known interest in

  14 the relief requested in the Sale; and (iv) all parties entitled to receive notice as of the date hereof

  15 pursuant to the Bankruptcy Code, the Bankruptcy Rules and/or orders of this Bankruptcy Court, and

  16 no other or further notice of the Sale is required. A reasonable opportunity to object or be heard

  17 regarding the relief requested has been afforded to all interested persons and entities.

  18          E.      The Trustee, having been previously authorized to borrow funds to continue the

  19 operations of the business, undertook, and the Debtor's assets have been the subject of, an

  20 appropriate marketing and sale process. Trustee solicited bids and other offers in accordance with

  21 the Motion and Notice of Sale. As set forth in the Supplemental Declaration of Trustee, the only

  22 Qualified Bidders were Morning Law Group and Bensamochan Law Group, consistent with the

  23 Notice of Sale. Trustee has appropriately and adequately marketed the assets and the Motion and

  24 Notice of Sale has complied with procedures. The price for the assets are fair and reasonable and

  25 constitute the best offer.

  26          F.      After an auction conducted on the record during the hearing, Morning Law Group,

  27 P.C. ("Morning Law"), was approved as the highest and best offer and is the successful purchaser.

  28 At the hearing, approval was sought of the APA by and among Trustee and Morning Law (also


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   1 sometimes referred to as "Purchaser" or "Buyer") on the terms and conditions announced on the

   2 record at the hearing, and substantially memorialized and to be executed in substantially the form

   3 attached hereto as Exhibit "1."

   4          G.      The Trustee and Morning Law are presently negotiating terms of a revised Asset

   5 Purchase Agreement that will be consistenWZLWKWKLV2UGHU WKH³$3$´ 8SRQWKHIXOOH[HFXWLRQ

   6 of the APA, the Trustee will file a copy of the fully-executed APA as a supplement to this Order.

   7          H.      At the Sale hearing, Bensamochan Law Group ("Backup Bidder") was selected and

   8 approved as the Backup Bidder in accordance with the Sale procedures. The Backup Bid by the

   9 Backup Bidder, to wit, was the next highest bid below the Purchaser. If Backup Bidder becomes
  10 the purchaser of the assets as provided in the Sale and this Order below, Bensamochan Law Group,

  11 as the purchaser in that circumstance is purchasing the assets in good faith and is a good faith

  12 purchaser of the assets within the meaning of Section 363(m) of the Bankruptcy Code and is,

  13 therefore, entitled to all of the protections afforded by that provision. Backup Bidder and its

  14 representatives have proceeded in good faith in all respects in connection with the Sale. Backup

  15 Bidder will execute the APA in substantially the form attached hereto as Exhibit "1."

  16          I.      Qualified bidders who were not the successful bidder, nor a back-up bidder, shall

  17 have their deposit returned as soon as possible after the conclusion of the hearing, at the discretion

  18 of Trustee. The Deposit of the successful bidder, and Backup Bidder, shall be controlled by the

  19 terms of the Sale, APA and this Order.

  20          J.         Trustee and the Estate has full organizational and other power and authority to

  21 execute and deliver the APA and all other documents contemplated thereby, and the sale of the

  22 assets and, as applicable, the assumption and assignment of the Assumed Contracts (as defined in

  23 the APA), by Trustee and the Estate to Purchaser has been duly and validly authorized by all

  24 necessary action. Trustee and the Estate has all of the organizational and other power and authority

  25 necessary to consummate the transactions contemplated by the APA, and no consents or approvals,

  26 other than those expressly provided for in the APA, are required for Trustee or the Estate to
  27 consummate such transactions. Trustee, as duly appointed and acting trustee in this case, is

  28 authorized to bind the Estate.


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   1           K.     The APA was negotiated, proposed and entered into (or if not yet executed, when

   2 entered into) without collusion, in good faith and from arm's-length bargaining positions. Neither

   3 Trustee, the Estate nor Purchaser, nor any of their respective representatives, have engaged in any

   4 conduct that would cause or permit the APA to be avoided under Section 363(n) of the Bankruptcy

   5 Code. The terms and conditions of the APA and the transactions contemplated thereby (including,

   6 without limitation, the consideration provided in respect thereof) are fair and reasonable and shall

   7 not be avoided under Section 363(n) of the Bankruptcy Code. The Sale and procedures set forth in

   8 and approved by this Order were non-collusive, proposed and executed in good faith as a result of

   9 arm's length negotiations, and substantively and procedurally fair to all parties. The hearing was
  10 conducted, including, without limitation, the selection of the purchaser and the backup purchaser

  11 (as defined below) at the conclusion of the hearing and approval of Morning Law as the purchaser,

  12 is in accordance with the Sale. Trustee solicited offers in accordance with, and has otherwise

  13 complied in all respects with, the Sale. The sale process set forth in the Sale afforded a full, fair and

  14 reasonable opportunity for any person or entity to make a higher or otherwise better offer to purchase

  15 the assets, with Purchaser ultimately having been determined by the Bankruptcy Court to be the

  16 successful bidder for the assets after consideration of all of the facts and circumstances relevant and

  17 necessary for the Bankruptcy Court to make the findings set forth herein.

  18           L.     Purchaser has complied with Sections 363 and 365 of the Bankruptcy Code with

  19 respect to the Sale pursuant to the terms of the APA and this Order. Upon closing, Purchaser shall

  20 receive the assets free and clear of the liens, claims, encumbrances and interests except as otherwise

  21 permitted by the APA or set forth herein.

  22           M.     Morning Law, as Purchaser, is purchasing the assets in good faith and is a good faith

  23 purchaser within the meaning of Section 363(m) of the Bankruptcy Code and is, therefore, entitled

  24 to all of the protections afforded by that provision. Purchaser and its representatives have proceeded

  25 in good faith in all respects in connection with the Sale. The proposed Sale was conducted pursuant

  26 to commercially reasonable procedures, approved by this Bankruptcy Court, and constitutes
  27 reasonably equivalent value and reasonable market value for the property. The APA was negotiated,

  28 proposed and entered in good faith, from arm's length bargaining positions and without collusion,


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   1 and Purchaser is entitled to the protections of Section 363(m) of the Bankruptcy Code. None of

   2 Trustee, the Estate nor Purchaser has engaged in conduct that would cause or permit the APA to be

   3 avoided under Section 363(n) of the Bankruptcy Code or any other provision of the Bankruptcy

   4 Code or Bankruptcy Rules or any other provision of applicable law.

   5          N.      Purchaser is not an "insider" as that term is defined in section 101(31) of the

   6 Bankruptcy Code. No common identity of directors or controlling stockholders exists between

   7 Purchaser and the Debtor.

   8          O.      Trustee's decision to (i) enter into the APA, and (ii) perform under the APA, is a

   9 reasonable exercise of Trustee's sound business judgment consistent with his fiduciary duties and
  10 applicable law.

  11          P.      The Sale is in the best interests of the Debtor, the Estate and creditors. Good and

  12 sufficient reasons for approval of the APA, and the Sale have been articulated, and the relief

  13 requested in the Motion and granted herein is in the best interest of the Debtor, the Estate, creditors

  14 and other parties in interest. Approval of the APA and consummation of the Sale and other

  15 transactions contemplated thereby at this time are in the best interests of the Debtor, the Estate,

  16 creditors and other parties in interest.

  17          Q.      The consideration provided by Purchaser pursuant to the APA is fair and reasonable

  18 and constitutes fair market value. In addition, the consideration provided by Purchaser constitutes

  19 reasonably equivalent value or fair consideration under the Uniform Fraudulent Transfer Act,

  20 Uniform Fraudulent Conveyance Act, the Bankruptcy Code, and the laws of the United States, the

  21 State of California, and any other state, territory, possession thereof or the District of Columbia, as

  22 applicable.

  23          R.      Time is of the essence in effectuating the transactions contemplated by the APA and

  24 proceeding with the sale of the property without interruption. Based upon the record of the Sale,

  25 and for the reasons stated on the record at the hearing and in the Motion, cause exists to lift the stay

  26 to the extent necessary, as contemplated by Bankruptcy Rules 4001(a)(3), 6004(h), 6006(d), 7062
  27 and/or 9014, and permit the immediate effectiveness of this Order.

  28 ///


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   1          S.         The transfer of the assets to Purchaser under the APA will constitute a legal, valid,

   2 and effective transfer of the assets and will vest Purchaser with all right, title, and interest of the

   3 Debtor and the Estate (including Trustee on behalf of the Estate) to the property free and clear of all

   4 liens (as defined in Section 101(37) of the Bankruptcy Code, whether consensual, statutory,

   5 possessory, judicial or otherwise), claims (as defined in Section 101(5) of the Bankruptcy Code and

   6 including, without limitation, successor liability claims), encumbrances or other interests, of any

   7 kind or nature whatsoever, whether known or unknown, legal or equitable, matured or unmatured,

   8 contingent or non-contingent, liquidated or unliquidated, asserted or unasserted, whether arising

   9 prior to or after the Petition Date, and whether imposed by agreement, understanding, law, equity
  10 or otherwise, accruing, arising or relating thereto, at any time prior to the date of closing of the APA

  11 ("Closing Date"), except as otherwise expressly provided in the APA, or as otherwise provided in

  12 this Order (all of such liens, claims, encumbrances and/or interests as to which the property is sold

  13 free and clear of under this Order, including, without limitation, those specifically listed in this

  14 Paragraph P below, are collectively referred to herein as the "Free and Clear Liens"). Without

  15 limiting the foregoing, the sale and transfer of title shall be free and clear of the following:

  16

  17                                                            Filing    Lapse                           Claim Amount
              Creditor              UCC No.        Status                                 Scope
                                                                Date      Date                              if Known
  18                                                                                                      Proof of Claim
                                                                                                          No. 44 in the
       OHP ± LPG, LP AUSTIN,                                             1/25/202
  19   TX
                                  U230005834326   ACTIVE    1/25/2023
                                                                            8
                                                                                    All Assets Filing     amount of at
                                                                                                          least
  20                                                                                                      $16,938,954.00

  21   C T CORPORATION
       SYSTEM, AS                                                        1/26/202
                                  U230006246724   ACTIVE    1/26/2023               All Assets Filing
  22   REPRESENTATIVE -                                                     8
       GLENDALE, CA
  23
                                                                                    "All accounts of
  24   FIRST CORPORATE
                                                                                    Debtor attached
                                                                                    hereto as Exhibit A
       SOLUTIONS, AS
  25                              U230009059730   ACTIVE    2/2/2023     2/2/2028   with all proceeds
       REPRESENTATIVE -
                                                                                    and all rights
       SACRAMENTO, CA
                                                                                    associated with
  26                                                                                such accounts."
                                                                                    "$1,053,690.00 in
  27   PROOFPOSITIVE LLC -
                                                                                    Litigation Practice
                                  U230009725118   ACTIVE    2/9/2023     2/9/2028   Group and
       SHERIDAN, WY
  28                                                                                associated
                                                                                    Litigation Practice


                                                            7
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   1
                                                           Filing    Lapse                           Claim Amount
              Creditor         UCC No.        Status                                 Scope
                                                           Date      Date                              if Known
   2
                                                                               Group Affiliate
   3                                                                           customer accounts
                                                                               receivables files."
   4   MC DVI FUND 2 LLC,
       MC DVI FUND 2 LLC,
                                                                    2/10/202
   5   DEBT VALIDATION       U230009923531   ACTIVE    2/10/2023
                                                                       8
                                                                               All Assets Filing
       FUND II LLC-
   6   GLENVIEW, IL
                                                                               "Executed
                                                                               Accounts
   7                                                                           Receivables
       VENTURE PARTNERS                                                        Purchase
   8                         U230016377733   ACTIVE    3/9/2023     3/9/2028
       LLC- SHERIDAN, WY                                                       Agreements in the
                                                                               amount of
   9                                                                           $15,959,308.55
                                                                               Debt Enrolled"
                                                                                                     Proof of Claim
  10                                                                3/16/202                         No. 89 filed in
       CITY CAPITAL NY       U230018278331   ACTIVE    3/16/2023               All Assets Filing
                                                                       8                             the amount of
  11                                                                                                 $2,950,000
                                                                               "All accounts
  12                                                                           receivable,
                                                                               receipts,
  13                                                                           instruments,
                                                                               contract rights and
                                                                               other rights to
  14                                                                           receive the
                                                                               payment of money,
  15   MNS FUNDING LLC -                                            5/28/202
                                                                               patents, chattel
                             U210050823723   ACTIVE    5/28/2021               paper, licenses,
       BROOKLYN, NY                                                    6
  16                                                                           leases and general
                                                                               intangibles,
                                                                               whether now
  17                                                                           owned acquired or
                                                                               arising, and all of
  18                                                                           the debtor's books
                                                                               and records
  19                                                                           relating to any of
                                                                               the foregoing."
       CT CORPORATION                                               5/28/202
  20   SYSTEM) CORP.
                             U210050853928   ACTIVE    5/28/2021
                                                                       6
                                                                               All Assets Filing

  21
       CORPORATION
  22   SERVICE COMPANY,
                             U210052792122   ACTIVE    6/4/2021     6/4/2026   All Assets Filing
       AS REPRESENTATIVE -
       SPRINGFIELD, IL
  23

  24
       C T CORPORATION
  25   SYSTEM, AS
                             U210057670018   ACTIVE    6/17/2021
                                                                    6/17/202
                                                                               All Assets Filing
       REPRESENTATIVE -                                                6
  26   GLENDALE, CA

  27

  28


                                                       8
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   1
                                                                Filing    Lapse                           Claim Amount
               Creditor             UCC No.        Status                                 Scope
                                                                Date      Date                              if Known
   2
                                                                                    "All accounts
   3                                                                                receivable,
                                                                                    receipts,
   4                                                                                instruments,
                                                                                    contract rights and
                                                                                    other rights to
   5                                                                                receive the
                                                                                    payment of money,
   6   WORLD GLOBAL
                                                                         6/24/202
                                                                                    patents, chattel
       FUNDLLC -                  U210059750525   ACTIVE    6/24/2021               paper, licenses,
                                                                            6
   7   BROOKLYN, NY                                                                 leases and general
                                                                                    intangibles,
                                                                                    whether now
   8                                                                                owned acquired or
                                                                                    arising, and all of
   9                                                                                the debtor's books
                                                                                    and records
  10                                                                                relating to any of
                                                                                    the foregoing."`
       C T CORPORATION
  11   SYSTEM, AS
       REPRESENTATIVE             U210062497027   ACTIVE    7/6/2021     7/6/2026   All Assets Filing
  12   [unknown as to who they
       represent]
  13
       BMF ADVANCE -                                                     10/4/202
                                  U210090322021   ACTIVE    10/4/2021               All Assets Filing
       BROOKLYN, NY                                                         6
  14
                                                                                    "All accounts
  15                                                                                receivable,
                                                                                    receipts,
  16                                                                                instruments,
                                                                                    contract rights and
                                                                                    other rights to
  17                                                                                receive the
                                                                                    payment of money,
  18                                                                                                      Debtor
                                  U210106788229                                     patents chattel
                                                                         12/1/202                         Scheduled at
       DIVERSE CAPITAL                 and        ACTIVE    12/1/2021               paper, licenses,
                                                                            6                             $1,224,810.00
  19                              U210085288536                                     leases and general
                                                                                                          on Schedule D
                                                                                    intangibles,
                                                                                    whether now
  20                                                                                owned acquired or
                                                                                    arising, and all of
  21                                                                                debtor's books and
                                                                                    records relating to
  22                                                                                any of the
                                                                                    foregoing."
  23
       Fundura Capital Group 80
  24   Broad Street, Suite 3303                                                                           Debtor
       New York, NY 10004                                                                                 Scheduled at
  25                                                                                                      $2,100,000.00
                                                                                                          on Schedule D
  26
  27 Each holder of any Free and Clear Lien: (i) has, subject to the terms and conditions of this Order,

  28 consented to the Sale or is deemed to have consented to the Sale, including by failing to object to


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   1 the Motion or withdrawing any such objections, pursuant to Section 363(f)(2) of the Bankruptcy

   2 Code; (ii) could be compelled in a legal or equitable proceeding to accept money satisfaction of such

   3 lien, claim, encumbrance and/or interest; or (iii) otherwise falls within the provisions of Section

   4 363(f) of the Bankruptcy Code, including, without limitation, that such liens, claims, and/or interests

   5 is/are in bona fide dispute. All rights asserted by third parties related to their Liens and/or in the

   6 Debtors' receivables, including ownership rights by third parties, shall attach to the net proceeds of

   7 the Sale received by the Estate, with the same validity, force and effect which existed prior to the

   8 Closing of the Sale, subject to any rights, claims, objections, arguments and defenses Trustee, the

   9 Estate, the Debtor or any other party in interest, as applicable, may possess with respect thereto.
  10          T.      The Bankruptcy Court has the inherent equitable power, under section 105(a) of the

  11 Bankruptcy Code, to order the reformation of the legal services agreements by and between the

  12 Debtor and Consumers to be consistent with applicable nonbankruptcy law.

  13          U.      To the extent necessary, the requirements of Bankruptcy Code Section 365 have been

  14 satisfied, including, without limitation, Sections 365(b)(l) and 365(f)(2), in connection with the

  15 assumption and assignment, as applicable, of the contracts and leases and other agreements assumed

  16 as set forth in the APA. The assumption and assignment of the executory contracts and unexpired

  17 leases and other agreements of the Debtor and/or the Estate, and the procedures relating thereto, as

  18 provided in the Sale and APA, are permissible and appropriate. The terms of this Order and the

  19 APA, governing the procedures for assumption and assignment of executory contracts and

  20 unexpired leases, including the consumer contracts (as detailed in Paragraphs 14-22 below), satisfy

  21 the requirements of the Bankruptcy Code.

  22          V.      The procedures to assume and assign the reformed LSAs (defined below) as set forth

  23 herein, and as may be further ordered by the Bankruptcy Court with recommendations from the

  24 Monitor (defined below), is appropriate and consistent with applicable law.

  25          W.         APA Section 1(c), related to the executory contracts, provides that Purchaser may

  26 revise the schedule of Assumed Contracts until 90-days have elapsed from the Notice of Assumption
  27 and Assignment and Opt Out Notice. APA Section 2(a) provides that, within the first 90-days after

  28 Notice of Assumption and Assignment and Opt Out Notice, that if more than 5% of the Active


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   1 Executory Contracts opt out or are excluded, then Purchaser is entitled to a $400 per client reduction

   2 in the quarterly Fee due under the Agreement. The exclusion of contracts under 1(c) in the first 90-

   3 days affects the purchase price due to Seller and is fair and reasonable.

   4          X.      The specific duties and mechanisms for support of a Monitor will be set forth in a

   5 separate Order of Appointment that shall be entered by the Bankruptcy Court. The findings made

   6 by the Bankruptcy Court at the Hearing and as set forth in the Order Approving Motion of Trustee

   7 Richard A. Marshack for Entry of an Order (A) Approving Sale, Subject to Overbid, of Assets Free

   8 and Clear of all Liens, Claims, Encumbrances, and Interests Pursuant to 11 U.S.C. §363(b) and (B)

   9 Approving Assumption and Assignment of Certain Executory Contracts and Unexpired Lease and
  10 Other Agreements entered on July 22, 2023 [Dkt. No. 320] ("Findings") are incorporated here by

  11 this reference. Without limiting the foregoing, in the Findings the Court discussed a deposition of

  12 Morning LDZ¶VDQG%DFN-8S%LGGHUV¶SULQFLSDO6HH'RFNHW1RDWSDJHOLQHV-15, Such

  13 depositions were held and concluded on July 26, 2023.

  14          NOW, THEREFORE, THE BANKRUPTCY COURT HEREBY ORDERS,

  15 ADJUDGES AND DECREES AS FOLLOWS:

  16                                    Approval of the APA and Sale

  17          1.      The Motion and the relief requested therein is GRANTED and APPROVED, as set

  18 forth here and on the record during the Hearing, and in the Findings, which are incorporated here in

  19 its entirety, and the Sale and other transactions as contemplated thereby is granted and approved.

  20          2.      All objections to the Motion and Sale, or the relief requested therein that have not

  21 been withdrawn, waived, or settled, and all reservations of rights included in such objections, are

  22 overruled on the merits.

  23          3.      This Order is deemed to be the Sale Order as provided in the APA.

  24          4.      The APA and all other ancillary documents, and all of the terms and conditions

  25 thereof, are authorized and approved pursuant to sections 105, 363, and 365 of the Bankruptcy Code

  26 and Rules 2002, 4001, 6004, 6006, and 9014 of the Bankruptcy Rules.
  27          5.      Pursuant to Section 363(b) of the Bankruptcy Code, Trustee and the Estate are

  28 authorized, directed, and empowered to take any and all actions necessary or appropriate to:


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   1                  a.     Consummate, as set forth in the APA, the sale of executory client consumer

   2 contracts, goodwill, and proprietary DMS, among other assets to Purchaser.

   3                  b.     Close the sale as contemplated in the APA;

   4                  c.     Execute and deliver the assumption and assignment of the Assumed

   5 Contracts which, for purposes of this Order, shall mean those unexpired leases and executory

   6 contracts of the Debtors designated by Purchaser by delivering a Schedule of Assumed Contracts,

   7 as provided for in the APA. Further, Purchaser shall provide a written schedule of Excluded

   8 Executory Contracts, before the 90th day after entry of the Notice of Assumption and Assignment

   9 and Opt Out Notice, as provided for in the APA. Purchaser will pay any prepetition cure amounts
  10 associated with the Assumed Contracts. All other contracts are rejected;

  11                  d.     Morning Law shall comply with the Notice to Consumer procedures set and

  12 such Consumer Protections, as defined in Section 12(m) of the APA, and as may be modified by the

  13 Bankruptcy Court, including consent in accordance with California Model Rule 1.17(b)(1) and

  14 remedial measures, including the future performance requirements, as detailed in Section 12(j) of

  15 the APA.

  16                  e.     Execute and deliver, perform under, consummate, implement, and close fully

  17 the proposed sale transaction contemplated in the APA, together with all additional instruments and

  18 documents that may be reasonably necessary or mutually desirable to implement the APA and the

  19 sale including, without limitation, any other ancillary documents, or as may be reasonably necessary

  20 or appropriate to the performance of the obligations as contemplated by the APA and such other

  21 ancillary documents. Morning Law, or its agents, agree to retain Eeyah Tan as Head of Operations,

  22 and agree to provide the Trustee with electronic access and all passwords related to the property

  23 acquired by Morning Law under the APA and related data bases and accounts, until such time as

  24 the APA is paid in full.

  25                  f.     Pursuant to the APA, Seller shall retain a purchase money security interest in

  26 the Assumed Contracts sold to Buyer, and a first-in-priority blanket lien in and against all Property
  27 (subordinate only to a lien, if any, created in securing financing of the Second Deposit) sold for so

  28 long as monetary and non-monetary obligations to the Estate remain outstanding. As a condition of


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   1 Closing, Buyer shall execute any documents requested by Seller to perfect the subject security

   2 interest on all assets including Fees, accounts receivable, and inventory as further detailed in the

   3 APA. To the extent such documents are not presented prior to Closing, Buyer agrees to execute and

   4 deliver any further documentation necessary to perfect and maintain perfection of its security

   5 interests within five business days after presentation.

   6           6.     Trustee's Sale is free and clear of all claims, liens and interests, with the exception of

   7 the mandatory implementation of the Consumer Protections. Purchaser and any affiliates and their

   8 respective predecessors, successors, assigns, members, partners, principals, directors, officers, and

   9 shareholders (or equivalent) shall have no obligations with respect to any liabilities of the Debtor
  10 other than as set forth in the APA.

  11           7.     Any and all valid and perfected Free and Clear Liens, other than as set forth in the

  12 APA, shall attach to the proceeds from the Sale, upon receipt of such proceeds by Trustee in the

  13 order of priority, and with the same validity, force and effect which existed prior to the Closing of

  14 the Sale, subject to any rights, claims, objections, arguments, and defenses Trustee, the Estate, the

  15 Debtor or any other party in interest, as applicable, may possess with respect thereto.

  16           8.     The terms and provisions of this Order shall be binding in all respects upon

  17 Purchaser, the Debtor, Trustee, and any subsequent trustees appointed pursuant to Chapter 11 or

  18 Chapter 7 of the Bankruptcy Code, the Estate, all creditors and interest holders of the Debtor and

  19 the Estate, and all interested parties, and their respective successors and assigns including, but not

  20 limited to, any creditor asserting a lien in the Property. The Debtor and its respective agents and

  21 representatives shall cooperate with respect to consummation of the sale and not take any action to

  22 interfere with the implementation or administration of the Sale.

  23           9.     The APA was negotiated and entered into in good faith, in an arm's-length

  24 transaction, and Purchaser is acting in good faith within the meaning of 11 U.S.C. § 363(m) and

  25 without collusion or fraud. The terms and conditions of the Sale, including the total consideration

  26 to be realized by the Estate pursuant to the APA is fair and reasonable, and the Sale is in the best
  27 interest of the Estate and its creditors. Purchaser is not an "insider" as that term is defined in section

  28 101(31) of the Bankruptcy Code.


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   1          10.     Adequate notice of the Sale with reasonable opportunity to object was given

   2 including, without limitation, the APA, the Motion, the Notice of Sale, the hearing, and the

   3 procedure for assumption and assignment of the Assumed Contracts. The purchase and sale

   4 procedures are approved based on the exigent circumstances of the Estate related to the consumer

   5 contracts. No other or further notice of the Sale Motion, APA, the assumption and assignment of

   6 the Assumed Contracts, is necessary or shall be required, except as expressly provided otherwise.

   7                                   Reformation of Prepetition LSAs

   8          11.     All prepetition legal services agreements entered into by and between the Debtor and

   9 a Consumer (defined below) that are executory as of the date of the entry of this Order shall be and
  10 are reformed to comply with applicable nonbankruptcy law ("Reformed LSAs") and shall remain

  11 binding and in full force and effect with respect to all provisions that are consistent with applicable

  12 law. As soon as practicable, Trustee shall file a notice of Reformed LSA setting forth the Reformed

  13 LSA in form and substance acceptable to the Monitor and the Committee. Such Reformed LSA shall

  14 constitute the terms of the legal services agreement by and between each Consumer and the Estate,

  15 subject to the assumption, assignment, and transfer procedures set forth herein.

  16                                      Appointment of the Monitor

  17          12.     Pursuant to the APA, the Bankruptcy Court shall appoint a monitor in this case

  18 ("Monitor") to strictly monitor Purchaser's compliance with generally understood ethical standards

  19 and certain consumer protection obligations. The specific duties and mechanisms for support of a

  20 Monitor will be as set forth in a separate Order of Appointment consistent with the APA. Such

  21 proposed form of Order of Appointment will be in substance and form reasonably acceptable to

  22 Trustee and Committee. For the avoidance of doubt and subject to a more definitive order, the

  23 proposed terms of the Monitor are based upon Judge Drain's appointment of a compliance Monitor

  24 as set forth in the Purdue Pharma L.P., et al., v, Commonwealth of Massachusetts (In re Purdue

  25 Pharma, L.P.), S.D.N.Y. Case No. 19-23649 (RDD) Adv. Pro. No. 19-08289 (Bankr. S.D.N.Y.

  26 2019), and appointment in this case is pursuant to the Bankruptcy Court's power under 11 U.S.C. §
  27 105(a) which has been consented to by Purchaser.

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   1          13.     The Bankruptcy Court approves the sections of the APA related to the Monitor,

   2 subject to the Order of Appointment.

   3                  Procedures for the Transfer of Potentially Assumed Agreements

   4                                    and Legal Services Agreements

   5          14.     Within 7 days after entry of this Order, Trustee shall file and serve a notice ("Cure

   6 Notice"), substantially in the form attached hereto as Exhibit "2," on all counterparties to executory

   7 contracts and unexpired leases that may potentially be assumed by Trustee and assigned to Purchaser

   8 ("Potentially Assumed Agreements"). The proposed form of Cure Notice is approved. The Cure

   9 Notice shall include an exhibit listing the counterparty to the Potentially Assumed Agreement, a
  10 general description of the Potentially Assumed Agreement, and any cure amount (if any) the

  11 Debtor's books and records indicate may be outstanding and payable to the counterparty to a

  12 Potentially Assumed Agreement to cure any defaults that exist under such Potentially Assumed

  13 Agreement if it is ultimately assumed by Trustee ("Cure Amounts").

  14          15.     The inclusion of a contract, lease, or other agreement on the Cure Notice shall not

  15 constitute or be deemed a determination or admission by Trustee or the Debtor's estate or any other

  16 party in interest that such contract, lease, or other agreement is, in fact, an executory contract or

  17 unexpired lease within the meaning of the Bankruptcy Code, and any and all rights with respect

  18 thereto shall be reserved.

  19          16.     Trustee is expressly permitted to serve the Cure Notice on consumer counterparties

  20 to legal services agreements with the Debtor through electronic means, including by providing

  21 notice utilizing the Debtor's proprietary software and service by such means shall be deemed to be

  22 appropriate and adequate under the circumstances.

  23          17.     If any counterparty to a Potentially Assumed Agreement wishes to file an objection

  24 to the Cure Amount or any other objection to Trustee's assumption and assignment of a Potentially

  25 Assumed Agreement including, without limitation, an objection based on adequate assurance of

  26 future performance by Purchaser (collectively, an "Assumption Objection"), such counterparty must
  27 file the Assumption Objection with the Bankruptcy Court and serve it so as to be actually received

  28 by the Assumption Notice Parties (defined below) by no later than: (i) August 31, 2023 at 5:00 p.m.


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   1 (prevailing Pacific Time), (ii) such later date otherwise specified in the Cure Notice, or (iii) solely

   2 with respect to those counterparties to Potentially Assumed Agreements who are not initially served

   3 with a Cure Notice, seven (7) days after service by overnight mail of such Cure Notice ("Assumption

   4 Objection Deadline").

   5          18.       Any Assumption Objection shall be served on the following parties ("Assumption

   6 Notice Parties") not later than the applicable Assumption Objection Deadline: (i) general counsel

   7 to Trustee: Marshack Hays LLP, 870 Roosevelt, Irvine, California 92620 (Attn: D. Edward Hays

   8 (ehays@marshackhays.com)); (ii) special counsel to Trustee: Dinsmore & Shohl LLP, 655 West

   9 Broadway, Suite 800, San Diego, California 92101 (Attn: Christopher B. Ghio
  10 (christopher.ghio@dinsmore.com)); (iii) counsel the Official Committee of Unsecured Creditors:

  11 Fox Rothschild LLP, 10250 Constellation Boulevard, Suite 900, Los Angeles, California 90067

  12 (Attn:     Keith     C.    Owens    (kowens@foxrothschild.com)         &    Nicholas    A.    Koffroth

  13 (nkoffroth@foxrothschild.com); (iv) counsel to Purchaser: Joshua Armstrong, Morning Law Group,

  14 P.C.,     2625       Townsgate     Road,     Suite        330,   Westlake   Village,     CA     91361

  15 (jarmstrong@invictusadvisors.com) and Danning, Gill, Israel & Krasnoff, LLP, 1901 Avenue of the

  16 Stars, Suite 450, Los Angeles CA 90067-6006, Attn.: Zev Shechtman, Email: zs@DanningGill.com;

  17 (v) the proposed Monitor Nancy Rapoport, William S. Boyd School of Law, University of Nevada,

  18 Las Vegas, 4505 S. Maryland Parkway, Box 451003, Las Vegas, Nevada 89154-1003

  19 (nancy.rapoport@unlv.edu); and (vi) the Office of the United States Trustee ("U.S. Trustee"): 411

  20 West Fourth Street, Suite 7160, Santa Ana, CA 92701 (Attn: Kenneth M. Misken

  21 (Kenneth.M.Misken@usdoj.gov)).

  22          19.       The Bankruptcy Court shall hold a hearing on September 14, 2023 at 11:00 a.m.

  23 (prevailing Pacific Time) at 411 West Fourth Street, Santa Ana, CA 92701, in Courtroom 5C

  24 or via ZoomGov (if permitted by the Court), ("Assumption Hearing") on any Objections and

  25 make its determinations concerning, among other things, §§ 365(b) and (f), including the adequacy

  26 of any proposed Cure Amount and adequate assurance of future performance under the Potentially
  27 Assumed Agreements. Parties wishing to make an appearance by Zoom for Government, a free

  28 service that provides audioconference capabilities, should review the Bankruptcy Court's tentative


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   1 rulings page, which can be accessed through https://www.cacb.uscourts.gov/judges/honorable-

   2 scott-c-clarkson. Parties should also consult the NOTICE OF VIDEO AND TELEPHONIC

   3 APPEARANCE PROCEDURES FOR JUDGE SCOTT CLARKSON'S CASES for specific

   4 procedures and further information. The Bankruptcy Court shall enter an order or orders following

   5 the Assumption Hearing authorizing Trustee to assume Potentially Assumed Agreements and assign

   6 such Potentially Assumed Agreements to Purchaser ("Assumption Order").

   7          20.     Subject to the procedures for assumption and assignment of Potentially Assumed

   8 Agreements pursuant to § 365, the procedure to transfer legal services agreements to Purchaser,

   9 consistent will applicable law, is as follows:
  10                  i.     Within seven (7) days of the closing of the Sale authorized by this Order,

  11 Purchaser to email the 90-day notice to consumers, pursuant to California Model Rule 1.17(b),

  12 substantially in the form attached hereto as Exhibit "3," which is hereby approved ("Consumer

  13 Notice").      Purchaser is expressly permitted to serve the Consumer Notice on consumer

  14 counterparties to legal services agreements with the Debtor ("Consumers") through electronic

  15 means, including by providing notice utilizing the Debtor's proprietary software and service by such

  16 means shall be deemed to be appropriate and adequate under the circumstances. The Trustee shall

  17 assist Purchaser as necessary to facilitate such notice.

  18                  ii.    As set forth more fully therein, the Consumer Notice shall inform Consumers

  19 of their rights as required under California Model Rule 1.17(b). The Consumer Notice may also

  20 inform Consumers of: (i) the fact that their prepetition legal services agreement with the Debtor has

  21 been reformed, pursuant to this Order; (ii) their right to "opt-in" to a Purchaser LSA (defined below)

  22 with Purchaser; and (iii) the impact of (a) "opting-out" of their Reformed LSA, under California

  23 Model Rule 1.17(b), (b) "opting-in" to a Purchaser LSA, or (c) taking no action.

  24                  iii.   Subject to the oversight of the Monitor, Purchaser may offer Consumers the

  25 option to enter into a Legal Services Agreement ("Purchaser LSA") in substantially the form

  26 attached hereto as Exhibit "4" (but subject to potential further modifications based upon the
  27 recommendations of the Monitor or order of this Bankruptcy Court), which may be provided to

  28 Consumers contemporaneously with the Consumer Notice, and which is hereby approved.


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   1                   iv.       If the consumer client takes no action on the Consumer Notice within ninety

   2 (90) days from the date of service ("Consumer Notice Expiration Date"), the Consumer will be

   3 deemed to have consented to the assumption and assignment of its Reformed LSA to Purchaser

   4 subject to the assumption and assignment provisions set forth herein.

   5                   v.        Nothing contained in this Order shall permit the transfer to Purchaser

   6 Consumer of personally identifiable information, except for the following: the Consumer's name

   7 and contact information (emails, phone number, address) ("Consumer Information").

   8 Notwithstanding anything in the APA to the contrary, Trustee shall not transfer Consumer

   9 Information to Purchaser until the earlier of the following: (a) the Consumer executes a Purchaser
  10 LSA; and (b) the occurrence of the Consumer Notice Expiration Date, with respect to Reformed

  11 LSAs for which the Consumer did not "opt-out" under California Model Rule 1.17(b), and entry of

  12 an Assumption Order with respect to such Reformed LSA. Notwithstanding the foregoing,

  13 Purchaser may have access to the Consumer Information subject to the Interim Association

  14 Agreement to service the consumer legal file and provide services during the Gap Period (defined

  15 below) as set forth more fully herein.

  16           21.     As set forth in the APA, Purchaser may revise the schedule of Potentially Assumed

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  18 Executory Contracts have been mishandled to the point where a cure is not possible prior to the

  19 Consumer Notice Expiration Date.             Purchaser's right to exclude Reformed LSAs from the

  20 Potentially Assumed Agreement list may reduce the purchase price due to the Estate; however, such

  21 right to exclude is fair and reasonable

  22           22.     At Closing, Trustee's possession of the premises is quitclaimed and transferred to

  23 Purchaser without further court order, and without representation and warranty.

  24                         Gap Period Operations and Interim Association Agreement

  25           23.     Trustee and Purchaser shall enter into an association agreement ("Interim

  26 Association Agreement") between the Closing Date and the first date by which the following have
  27 occurred: (a) the Consumer Notice Expiration Date; and (b) entry of the Assumption Order ("Gap

  28 Period"). The Interim Association Agreement shall be in form and substance reasonably acceptable


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   1 to Trustee, Purchaser, and the Committee, and shall provide for Purchaser's management, operation,

   2 funding, and sole and exclusive liability for satisfying the estate's obligations under the Reformed

   3 LSAs during the Gap Period with such indemnification provisions in form and substance reasonably

   4 acceptable to Trustee and Committee. Purchaser's operations with respect to the Reformed LSAs

   5 during the Gap Period shall be subject to the oversight of the Monitor. Upon the conclusion of the

   6 Gap Period, Trustee and Committee, on the one hand, and Purchaser, on the other hand, shall

   7 reconcile fees collected and held by Purchaser relative to the Reformed LSAs that were either

   8 assumed and assigned, terminated, or rejected. To ensure the absence of doubt, until the moment of

   9 Closing, Purchaser assumes the responsibilities for the consumer files and account until opt-out or
  10 rejection, and shall indemnify, defend and hold Trustee, the Estate and Estate professionals harmless

  11 from any and all claims related to Purchaser's operation of the Debtor's business and servicing of

  12 the Reformed LSAs during or after the Gap Period.

  13                                              Injunctive Relief

  14           24.     Pursuant to 11 U.S.C. § 105(a) and other applicable authorities, the Court

  15 hereby enjoins any and all claims (as defined in Section 101(5) of the Bankruptcy Code and

  16 including, without limitation, successor liability claims) against Purchaser arising from: (A) any and

  17 all actions or omissions of the Debtor, the Trustee, the Estate, or anyone acting or purporting to act

  18 for them, or any affiliates thereof prior to the Closing Date; and (B) any and all actions omissions

  19 or any other party relating to the Assumed Contracts arising prior to the Closing Date.

  20                                         Miscellaneous Provisions

  21           25.     A certified copy of this Order may be filed with the appropriate clerk and/or recorded

  22 with the county recorder to evidence conclusively the release or cancellation of the claims, liens,

  23 and interests as set forth in this Order.

  24           26.     This Order may be presented to and shall be binding upon and govern the acts of all

  25 persons and entities, including, without limitation, all filing agents, filing officers, title agents, title

  26 companies, escrow agents, recorders of mortgages, recorders of deeds, registrars of deeds,
  27 administrative agencies, federal, state and local governmental agencies or departments, secretaries

  28 of state, federal and local officials, and all other persons and entities who may be required by


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   1 operation of law, the duties of their office, or contract, to accept, file, register or otherwise record

   2 or release any documents or instruments, or who may be required to report or insure any title or state

   3 of title in or to any property; and directs each of the foregoing persons and entities to accept for

   4 filing any and all of the documents and instruments necessary and appropriate to consummate the

   5 transactions contemplated by the APA.

   6          27.     The failure to specifically include any particular provision of the APA in this Order

   7 does not diminish or impair the effectiveness of such provision, it being the intent of the Bankruptcy

   8 Court that the APA is authorized and approved in its entirety.

   9          28.     To the extent that this Order is inconsistent with any prior order or pleading, the

  10 terms of this Order shall govern. To the extent the terms of this Order are inconsistent with the

  11 terms of the APA, the terms of this Order shall govern.

  12          29.     This Order constitutes a final and appealable order within the meaning of 28 U.S.C.

  13 § 158(a). The fourteen (14) day stay period set forth in Federal Rule of Bankruptcy Procedure

  14 6004(h) is waived; and notwithstanding Federal Rule of Bankruptcy Procedure 6004(h), this Order

  15 shall be immediately effective and enforceable upon its entry and there shall be no stay of this Order.

  16 In the absence of any person or entity obtaining a stay pending appeal of this Order, Trustee, the

  17 Estate and Purchaser are free to close the sale under the APA at any time, subject to the terms of the

  18 APA.

  19          30.     The Bankruptcy Court has jurisdiction over the Sale and APA pursuant to 28 U.S.C

  20 §§ 157 and 1334 and may enter a final order on the Sale consistent with Article III of the United

  21 States Constitution. This matter is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue in this

  22 district is proper under 28 U.S.C. § 1408 and 1409. The Bankruptcy Court retains jurisdiction to,

  23 among other things, interpret, implement, and enforce the terms and provisions of this Order and

  24 the APA, all amendments thereto and any waivers and consents thereunder and each of the

  25 agreements executed in connection therewith to which Trustee or the Estate are a party or which

  26 will be assigned by the Estate to Purchaser, and to adjudicate, if necessary, any and all disputes
  27 concerning or relating in any way to the Sale. The Bankruptcy Court hereby also retains jurisdiction

  28 over any matter or dispute arising from or relating to the implementation of this Order. Without


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   1 limiting the foregoing, the Bankruptcy Court retains jurisdiction, pursuant to its statutory powers

   2 under 28 U.S.C. § 157(b)(2), to, among other things, interpret, implement, and enforce the terms

   3 and provisions of this Order, the APA, all amendments thereto and any waivers and consents

   4 thereunder and any documents executed in connection therewith to which Trustee is a party,

   5 including, but not limited to, retaining jurisdiction to: (a) compel delivery of the assets to Purchaser;

   6 (b) interpret, implement and enforce the provisions of this Order and any related order; (c) determine

   7 any challenge to the sale and/or the conduct of the sale hearing; (d) protect Purchaser against any

   8 liens, claims, encumbrances and interests in the assets as to which is sold free and clear of under

   9 this Order;(e) authorize any ambiguous retention or disbursements subject to the Escrow Holder's
  10 Account; (f) compel compliance with the Consumer Protections, as further detailed in the APA; and

  11 (g) any determine disputes related to the APA or this Order.

  12          31.     Purchaser shall (1) be subject to the jurisdiction of this Court, which includes all civil

  13 contempt liability arising from violation of this Order or the APA or federal or state (arising from

  14 any state) consumer protection statutes and regulations, as well as any and all issues related to the

  15 Monitor and/or monitoring of the Purchaser, as addressed and consented to in Court and in

  16 accordance with the Order, the APA, any plan of reorganization and 28 U.S.C. Section 1334(b); (2)

  17 not sell or transfer any assets, whether sold outright or by licensee, lease, or contract, or otherwise,

  18 sold under the APA or this Order without further order of the Court, and (3) comply with all

  19 applicable federal and state(s) statutory and legal requirements including the debt resolution,

  20 privacy, data breach notification, data disposal, and cybersecurity laws and laws prohibiting unfair,

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  22 respect to all future operations of the business (and not just the consumer contracts transferred) until

  23 the last remaining client/customer/consumer contract being transferred in the sale has been

  24 concluded.

  25          32.     The findings of fact and conclusions of law set forth herein and at Sale hearing shall

  26 constitute findings of fact and conclusions of law pursuant to Bankruptcy Rule 7052, as made
  27 applicable here by Bankruptcy Rule 9014, and the findings and conclusions made at the Sale hearing

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   1 are incorporated herein by reference. To the extent any finding of fact shall be determined to be a

   2 conclusion of law, it shall be so deemed, and vice versa.

   3          33.     The Backup Bid shall remain open, irrevocable and binding on the Backup Bidder

   4 until the closing of the Sale to Morning Law. If Morning Law fails to close for any reason and

   5 Trustee notifies the Backup Bidder that Trustee has elected to sell the assets to the Backup Bidder,

   6 then the Backup Bidder shall close the Sale with no contingencies whatsoever within two (2)

   7 business days of receipt of written notice from Trustee of such election (subject to extension in

   8 Trustee's sole discretion). In the event Trustee determines to close the Sale with the Backup Bidder,

   9 all relevant findings of fact, conclusions of law and other provisions of this Order shall be deemed
  10 to apply to the Sale to the Backup Bidder as the replaced "Purchaser" without further order of the

  11 Bankruptcy Court; provided, Trustee or the Backup Bidder may in their discretion seek a

  12 supplemental order or an amendment to this Order with respect to the foregoing. Trustee and Backup

  13 Bidder may modify the final form of the APA to conform to its purchase (as approved as the Backup

  14 Bid) to effectuate the Sale, if applicable.

  15          34.     In the event any given qualified bidder is not the successful bidder, nor a back-up

  16 bidder, their deposit, shall be returned as soon as possible after the conclusion of the hearing, at the

  17 discretion of Trustee.

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   1          35.    Upon the Closing of the Sale to Morning Law, Backup Bidder's deposit shall be

   2 returned as soon as possible, at the discretion of Trustee.

   3          36.    To the extent exhibits to, or other documents contemplated in, this Sale Order are not

   4 complete at the time of entry of this Sale Order, the Trustee and Purchaser shall submit amended

   5 documents, and may lodge an amended order, or supplements thereto, as necessary and appropriate

   6 to consummate the transaction.

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                             EXHIBIT "1"

                  AGREEMENT OF PURCHASE AND SALE
                                AND
                     JOINT ESCROW INSTRUCTIONS
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                             EXHIBIT "2"

                CURE NOTICE ± ASSUMPTION AGREEMENT




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   1 Christopher B. Ghio (State Bar No. 259094)
     Christopher Celentino (State Bar No. 131688)
   2 Yosina M. Lissebeck (State Bar No. 201654)

   3 DINSMORE & SHOHL LLP
     655 West Broadway, Suite 800
   4 San Diego, CA 92101
     Telephone: 619.400.0500
   5 Facsimile:     619.400.0501
     christopher.ghio@dinsmore.com
   6 christopher.celentino@dinsmore.com

   7 yosina.lissebeck@dinsmore.com

   8 Special Counsel to Richard A. Marshack

   9
  10                          UNITED STATES BANKRUPTCY COURT

  11             CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISION

  12

  13    In re:                                          Chapter 11
  14    THE LITIGATION PRACTICE GROUP, Case No. 8:23-bk-10571-SC
  15    P.C.,
                                       NOTICE OF POTENTIAL
  16                                   ASSUMPTION AND ASSIGNMENT TO
              Debtor.                  COUNTERPARTIES TO EXECUTORY
  17                                   CONTRACTS AND UNEXPIRED
                                       LEASES OF THE LITIGATION
  18                                   PRACTICE GROUP, P.C.
  19
                                                        Assumption Hearing
  20                                                    Date:     >Ɣ@
                                                        Time:     >Ɣ@>Ɣ@P 3DFLILF7LPH
  21                                                    Location: Courtroom 9C
                                                                  411 West Fourth Street
  22
                                                                  Santa Ana, CA 92701
  23                                                                        or
                                                                      via ZoomGov
  24

  25

  26             PLEASE TAKE NOTICE that on July 22, 2023, the Court entered an order [Docket
  27 1R @ WKH ³Sale Order´  DSSURYLQJ WKH VDOH RI VXEVWDQWLDOO\ DOO RI WKH DVVHWV RI WKH

  28

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   1 /LWLJDWLRQ 3UDFWLFH *URXS 3& WKH ³Debtor´  WR 0RUQLQJ /DZ *URXS 3& WKH ³Buyer´ 

   2 SXUVXDQWWRWKHWHUPVRIWKDWFHUWDLQ$VVHW3XUFKDVH$JUHHPHQW WKH³APA´ $VVHWIRUWK

   3 more fully in the Sale Order, the Court approved procedures for the assumption by the Debtor
     and assignment to the Buyer of certain executory contracts and unexpired leases (the
   4
     ³Potentially Assumed Agreements´ SXUVXDQWWRRIWLWOHRIWKH8QLWHG6WDWHV&RGH
   5
     (WKH³Bankruptcy Code´ 3 The Potentially Assumed Agreements are described in Exhibit
   6 A attached to this Notice. The amount shown on Exhibit A with respect to each Potentially

   7 $VVXPHG $JUHHPHQW LV WKH ³&XUH $PRXQW´ ZKLFK LV WKH DPRXQW LI DQ\  WKH FKDSWer 11

   8 WUXVWHH WKH ³7UXVWHH´  DVVHUWV LV RZHG WR FXUH DQ\ GHIDXOWV H[LVWLQJ XQGHU D 3RWHQWLDOO\

   9 Assumed Agreement. The Potentially Assumed Agreements are those contracts and leases
     that the Trustee believes may be assumed and assigned as part of the orderly transfer of assets
  10
     under the APA; however, the Buyer may choose to exclude certain of the Potentially
  11
     Assumed Agreements from the list of executory contracts and unexpired leases that are
  12 ultimately assumed and assigned under the APA, as provided for in the APA. Removal of a

  13 Potentially Assumed Agreement from this list will remove it from the Assumed Agreements

  14 being assigned to Buyer. You may be a party to a Potentially Assumed Agreement and

  15 should carefully review this Notice in its entirety. If you signed a contract with Litigation
     Practice Group regarding your debt, this Notice may affect you. Please read this notice
  16
     and the attached Exhibit A carefully, and please seek legal counsel if you do not
  17
     XQGHUVWDQGWKH1RWLFH´,IQRQHRIWKHPZRXOGEH affected by this Ex A, then no need
  18
     to add.
  19         PLEASE TAKE FURTHER NOTICE that if you object to the assumption and
  20 assignment of your Potentially Assumed Agreement (including an objection based on

  21 adequate assurance of future performance by the Buyer under the Potentially Assumed
     Agreement) or if you disagree with the Cure Amount shown for your Potentially Assumed
  22
     Agreement on Exhibit A to which you are a party, you must file in writing with the United
  23
     States Bankruptcy Court for the Central District of California, 411 West Fourth Street, Santa
  24
     $QD&$DQREMHFWLRQ DQ³Assumption Objection´ RQRUEHIRUH>Ɣ@DWSP
  25 (prevailing Pacific Time). Any Assumption Objection must set forth the specific default or

  26
  27
       3
           8QOHVVRWKHUZLVHGHILQHGKHUHLQDOOUHIHUHQFHVWR³6HFWLRQ´RU³´UHIHUWRDVHFWLRQRIWKH%DQNUXSWF\&RGH
  28

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   1 defaults alleged and set forth any cure amount as alleged by you. If a Potentially Assumed

   2 Agreement is assumed and assigned pursuant to a Court order approving same, then unless

   3 you have filed an Assumption Objection, you will be paid the Cure Amount set forth herein,
     if any, and Buyer will assume (take over) your Agreement. Any counterparty to a Potentially
   4
     Assumed Agreement that fails to timely file and serve an Assumption Objection shall be
   5
     forever barred from asserting that a Cure Amount is owed in an amount in excess of the
   6 amount, if any, set forth in the attached Exhibit A.

   7

   8

   9 Any Assumption Objection must be filed with the Court and actually received by the
     Assumption Notice Parties (defined below) by no later than: (i) >Ɣ@ DW  SP
  10
     (prevailing Pacific Time), (ii) such later date otherwise specified in the Cure Notice, or
  11
     (iii) solely with respect to those counterparties to Potentially Assumed Agreements who
  12 are not initially served with a Cure Notice, seven days after service by overnight mail

  13 RIVXFK&XUH1RWLFH ³$VVXPSWLRQ2EMHFWLRQ'HDGOLQH´ 

  14

  15          PLEASE TAKE FURTHER NOTICE that any Assumption Objection you may
       ILOHPXVWEHVHUYHGRQWKHIROORZLQJSDUWLHV ³Assumption Notice Parties´ QRWODWHUWKDQWKH
  16
       applicable Assumption Objection Deadline: (i) general counsel to the Trustee: Marshack
  17
       Hays LLP, 870 Roosevelt, Irvine, California 92620 (Attn: D. Edward Hays
  18
       (ehays@marshackhays.com) and Laila Masud (lmasud@marshackhays.com)); (ii) special
  19 counsel to the Trustee: Dinsmore & Shohl LLP, 655 West Broadway, Suite 800, San Diego,

  20 California 92101 (Attn: Christopher B. Ghio (christopher.ghio@dinsmore.com)); (iii)

  21 counsel to the Official Committee of Unsecured Creditors: Fox Rothschild LLP, 10250
     Constellation Boulevard, Suite 900, Los Angeles, California 90067 (Attn: Keith C. Owens
  22
     (kowens@foxrothschild.com) & Nicholas A. Koffroth (nkoffroth@foxrothschild.com) ; (iv)
  23
     FRXQVHO WR WKH %X\HU >Ɣ@ -RVKXD $UPVWURQJ INVICTUS ADVISORS LLP, 2625
  24
     Townsgate        Road,      Suite      330,    Westlake      Village,     CA      91361
  25 (jarmstrong@invictusadvisors.com)         (v) the Monitor, Nancy Rapoport, at
  26 QDQF\UDSRSRUW#XQOYHGXDQG YL WKH2IILFHRIWKH8QLWHG6WDWHV7UXVWHH ³U.S. Trustee´ 
  27 411 West Fourth Street, Suite 7160, Santa Ana, CA 92701 (Attn: Kenneth M. Misken

  28

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   1 (Kenneth.M.Misken@usdoj.gov).

   2           PLEASE TAKE FURTHER NOTICE that the Buyer shall be responsible for

   3 satisfying any requirements regarding adequate assurance of future performance that may be
     imposed under §§ 365(b) and (f) in connection with the proposed assignment of any
   4
     Potentially Assumed Agreement. The Court shall hold a hearing on >Ɣ@DW >Ɣ@ >Ɣ@P
   5
     (prevailing Pacific Time) at 411 West Fourth Street, Santa Ana, CA 92701, in
   6 Courtroom 9C or via ZoomGov WKH³Assumption Hearing´ RQDQ\2EMHFWLRQVDQGPDNH

   7 its determinations concerning, among other things, §§ 365(b) and (f), including the adequacy

   8 of any proposed Cure Amount and adequate assurance of future performance under the

   9 Potentially Assumed Agreements. Parties wishing to make an appearance by Zoom for
     Government, a free service that provides audioconference capabilities, should review the
  10
     &RXUW¶V WHQWDWLYH UXOLQJV SDJH ZKLFK FDQ EH DFFHVVHG WKURXJK
  11
     https://www.cacb.uscourts.gov/judges/honorable-scott-c-clarkson. Parties should also
  12 consult the NOTICE OF VIDEO AND TELEPHONIC APPEARANCE PROCEDURES

  13 FOR JUDG( 6&277 &/$5.621¶6 &$6(6 IRU VSHFLILF SURFHGXUHV DQG IXUWKHU

  14 information.

  15           PLEASE TAKE FURTHER NOTICE (i) that Objections may be resolved by the
       Court at the Assumption Hearing, (ii) except to the extent otherwise provided in the APA
  16
       with the Buyer, pursuant to § 365(k), the Debtor and its estate shall be relieved of all liability
  17
       accruing or arising after the effective date of assumption and assignment of the Potentially
  18
       Assumed Agreements, and (iii) nothing contained herein shall obligate the Trustee or the
  19 'HEWRU¶VHVWDWHWRDVVXPHDQ\3RWHQWLDOO\$VVXPHG$JUHHPHQWRUWRSD\DQ\&XUH$PRXQW

  20      PLEASE TAKE FURTHER NOTICE THAT IF YOU DO NOT TIMELY FILE
     AND SERVE AN ASSUMPTION OBJECTION AS STATED ABOVE, THE COURT
  21 MAY APPROVE ASSUMPTION AND ASSIGNMENT OF THE POTENTIALLY
     ASSUMED AGREEMENTS WITH NO FURTHER NOTICE.
  22

  23       ANY COUNTERPARTY TO ANY POTENTIALLY ASSUMED
     AGREEMENT WHO DOES NOT FILE A TIMELY ASSUMPTION OBJECTION
  24 TO THE CURE AMOUNT FOR SUCH POTENTIALLY ASSUMED AGREEMENT
     IS DEEMED TO HAVE CONSENTED TO SUCH CURE AMOUNT.
  25
           PLEASE TAKE FURTHER NOTICE THAT CONSUMERS MAY ALSO
  26
     5(&(,9( $ 6(3$5$7( 127,&( &21&(51,1* 7+(,5 ³237-287´ 5,*+76
  27 UNDER RULE 1.17 OF THE CALIFORNIA RULES OF PROFESSIONAL
     CONDUCT THAT MAY BE APPLICABLE TO A POTENTIALLY ASSUMED
  28

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   1 AGREEMENT. NOTHING CONTAINED IN THIS NOTICE IS INTENDED TO
     ADDRESS OR MODIFY SUCH RIGHTS AND THIS NOTICE SHOULD BE READ
   2 IN &21-81&7,21 :,7+ $1< ³237-287´ 127,&( $33/,&$%/( 72

   3 CONSUMERS.

   4
       'DWHG-XO\>Ɣ@        Respectfully submitted,
   5
                                    DINSMORE & SHOHL LLP
   6

   7
                                    By: /s/
   8
                                    Special Counsel to Richard A. Marshack
   9
  10

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                             EXHIBIT "3"

                       90 DAY CONSUMER NOTICE




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                                    NOTICE TO CONSUMERS

                         In Re LITIGATION PRACTICE GROUP, PC
                                   Case No. 8:23-bk-10571
                      90-DAY NOTICE OF SALE AND FILE TRANSFER


 Please be advised that pursuant to Court order entered July ___, 2023, Morning Law Group, P.C.
  WKH³3XUFKDVHU´ KDVDJUHHGWRSURYLGH\RXZLWKOHJDOVHUYLFHVIRUZKLFK\RXRULJLQDOO\VLJQHGXS
 ZLWKWKH/LWLJDWLRQ3UDFWLFH*URXS3& ³LPG´ ,QDFFRUGDQFHZLWKWKH&RXUW¶VRUGHUDQG5XOH
 1.17 of the California Rules of Professional Conduct you have the following rights during the 90-
 'D\1RWLFH3HULRGWKDWHQGVRQ2FWREHU1RYHPEHUBBB ³Notice Period´ 

                                      Your Current Agreement

 You are receiving this Notice becDXVH/3*¶VUHFRUGVLQGLFDWHWKDW\RXDUHDSDUW\WRDOHJDOVHUYLFHV
 DJUHHPHQW WKH³Original Agreement´ ZLWK/3*

 2Q0DUFK/3*ILOHGDEDQNUXSWF\FDVH WKH³Bankruptcy Case´ LQWKH8QLWHG6WDWHV
 Bankruptcy Court for the Central District of &DOLIRUQLD WKH³Bankruptcy Court´ 2Q-XO\>Ɣ@
  WKH %DQNUXSWF\ &RXUW HQWHUHG DQ RUGHU DSSURYLQJ D VDOH RI /3*¶V ODZ SUDFWLFH WR WKH
 3XUFKDVHU7KH%DQNUXSWF\&RXUWDOVRRUGHUHGWKDWWKH2ULJLQDO$JUHHPHQWPXVWEH³UHIRUPHG´
 to remove provisions that may violate applicable law. We refer to your modified legal services
 DJUHHPHQW ZKLFK UHPRYHV DQ\ SURYLVLRQV WKDW YLRODWH DSSOLFDEOH ODZ DV WKH ³Reformed
 Agreement´

 In connection with the sale, the Purchaser intends to perform legal services on your behalf subject
 to the terms of the Reformed Agreement on an interim and, potentially, longer term basis.

                                     Your Rights Upon the Sale

 &DOLIRUQLDODZJLYHV\RXWKHULJKWWR³RSWRXW´RIWKHWUDQVIHURI\RXU5HIRUPHG$JUHHPHQWWRWKH
 Purchaser.

 Under Rule 1.17 of the California Rules of Professional Conduct this Notice is intended to inform
 you that WKH/LWLJDWLRQ3UDFWLFH*URXS3&¶VODZSUDFWLFHLVEHLQJWUDQVIHUUHGWRWKH3XUFKDVHU
 You have the right to retain other counsel; you may take possession of any client materials and
 property, as required by Rule 1.16(e)(1) of the California Rules of Professional Conduct; and if no
 response is received to this Notice within 90 days after it is sent, or if your rights would be
 prejudiced by a failure of the Purchaser to act during that time, the Purchaser may act on your
 behalf until otherwise notified.




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                                      Your Three Options

    ¾ 1. Opt-In:
      You may consent to the Purchaser providing you with legal services and opt-in to the
      transfer of your file by reviewing, signing, and returning the enclosed Legal Services
      Agreement directly to the Purchaser at the address or e-mail address provided below. The
      enclosed Legal Services Agreement will then replace your Reformed Agreement.


    ¾ 2. Opt-Out:
      If you do not want the Purchaser to provide you with legal services or have your file
      transferred to the Purchaser, you have the right to opt out and request a refund and a copy
      of your file by notifying the Purchaser within the Notice Period at the address or e-mail
      address provided below. If you choose to opt out, your Reformed Agreement with LPG
      will be rejected and terminated pursuant to applicable Bankruptcy Law. PLEASE BE
      AWARE THAT YOUR MATTER MAY HAVE URGENT DEADLINES, SO YOU
      SHOULD SEEK LEGAL COUNSEL AS SOON AS POSSIBLE IF YOU ELECT TO
      OPT OUT.

    ¾ 3. Do Nothing Within the Notice Period:
      If you choose not to opt in or opt out, and you take no action during the Notice Period, you
      will be deemed to have opted in to representation by the Purchaser, and your file will be
      transferred to the Purchaser after the expiration of the Notice Period under the terms of
      your Reformed Agreement. Choosing to take no action during the Notice Period, however,
      GRHVQRWSUHYHQW\RXIURPWHUPLQDWLQJWKH3XUFKDVHU¶VVHUYLFHVDQGUHTXHsting a refund
      and a copy of your file at any time.

    ¾ Personal Identifiable Information
      Your name and contact information (phone and e-mail address) will be provided to the
      Purchaser. Other personal identifiable information included in your client file (including
      but not limited to date of birth, social security number, and account information) will not
      be transferred to the Purchaser, unless you: 1) opt in; or 2) do nothing within the Notice
      Period, except as necessary to provide legal services before you take action. If you do
      nothing within the Notice Period, the Purchaser may have to access your legal file to
      provide services that might be needed to preserve your matter and your rights, and any such
      review will not be deemed a violation of this section.

 DURING THE NOTICE PERIOD, THE PURCHASER WILL ALSO HAVE THE RIGHT
 TO DETERMINE WHETHER IT WILL TAKE ASSIGNMENT OF, AND CONTINUE TO
 SERVICE, YOUR REFORMED AGREEMENT. YOU WILL RECEIVE A SEPARATE
 127,&(&21&(51,1*³$668037,21$1'$66,*10(17´352&('85(67+$7
 ADDRESSES THAT PROCESS, WHICH YOU SHOULD READ CAREFULLY. YOU
 MAY ALSO WISH TO CONSULT WITH AN INDEPENDENT ATTORNEY.

 /3*¶VEDQNUXSWF\HVWDWHKDVFRQWUDFWHGZLWKWKH3XUFKDVHUWRSURYLGHLQWHULPVHUYLFHVXQGHU\RXU




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 Reformed Agreement until you opt in, opt out, the Purchaser elects to not take assignment of your
 Reformed Agreement, or the Notice Period expires.

 Please contact the Purchaser directly at __________________, Telephone:
 ___________________, or email address: ____________________, with all questions, your
 request to Opt In (with your signed Legal Services Agreement), or your request to Opt Out.

                                                            Sincerely,
                                                            [Signatory name]
 Enclosure: Legal Services Agreement




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                             EXHIBIT "4"

                     LEGAL SERVICES AGREEMENT




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